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 1   BRUCE LOCKE (#177787)
     Moss & Locke
 2   800 Howe Avenue, Suite 110
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     CEDRIC ROBERSON
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-10-211 GEB
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION TO CONTINUE THE
10                                       )                SENTENCING HEARING
           v.                            )                FROM APRIL 27, 2012 TO
11                                       )                MAY 18, 2012 AT 9:00 A.M.
     CEDRIC ROBERSON, et al.,            )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between Cedric Roberson, by and through
15   his undersigned defense counsel, and the United States of America, by and through its counsel,
16   Assistant U.S. Attorney Jared Dolan, that the sentencing presently set for April 27, 2012 should be
17   continued to May 18, 2012 at 9:00 a.m.
18          The reason for the continuance is that the defense and the government are attempting to
19   resolve sentencing issues and the government needs additional time to present certain information
20   to defense counsel and both counsel need the additional time to attempt to resolve the issues. Mr.
21   Dolan has authorized Mr. Locke to sign this pleading for him.
22   DATED: April 25, 2012                              /S/ Bruce Locke
                                                  BRUCE LOCKE
23                                                Attorney for Cedric Roberson
24   DATED: April 25, 2012                              /S/ Bruce Locke
                                                  For JARED DOLAN
25                                                Attorney for the United States
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             Case 2:10-cr-00211-GEB Document 293 Filed 04/26/12 Page 2 of 2


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 9         IT IS SO ORDERED.
10   Dated: April 25, 2012
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12                                    GARLAND E. BURRELL, JR.
13                                    United States District Judge

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